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20                             UNITED STATES DISTRICT COURT
21                      FOR THE CENTRAL DISTRICT OF CALIFORNIA
22
      UNITED STATES OF AMERICA,                No. CV 17-4443 DSF (PLAx)
23
                 Plaintiff,                    PLAINTIFF’S MAY 2019 STATUS
24                                             REPORT
                       v.
25
      ONE PAINTING ENTITLED “NATURE
26    MORTE AU CRANE DE TAUREAU” BY
      PABLO PICASSO; ET AL.,
27
28               Defendants.
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 1          On June 15, 2017, Plaintiff United States of America (the
 2    “government”) filed a Verified Complaint for Forfeiture in Rem
 3    against defendants One Painting Entitled “Nature Morte Au Crane De
 4    Taureau” by Pablo Picasso (the “Picasso”); One Collage Entitled
 5    “Redman One” by Jean-Michel Basquiat (the “Basquiat”); and One
 6    Photograph Entitled “Boy With The Toy Hand Grenade” by Diane Arbus
 7    (the “Arbus”) (hereinafter, the “Defendant Assets”).           On June 20,
 8    2017, the government filed a First Amended Complaint for Forfeiture
 9    in Rem (“FAC”) against the Defendant Assets.
10          Beginning on June 21, 2017, notice of Civil Forfeiture was
11    posted on an official government internet site (www.forfeiture.gov)
12    for at least 30 consecutive days, as required by Rule G(4)(a)(iv)(C)
13    of the Supplemental Rules for admiralty or Maritime Claims and Asset
14    Forfeiture Actions.      Accordingly, the time to file a claim and answer
15    for all interested parties expired on August 20, 2017, and September
16    10, 2017, respectively.
17          On August 4, 2017, direct notice of the Civil Forfeiture action
18    was e-mailed to counsel for the one known potential claimant and
19    owner of the Defendant Assets, Leonardo DiCaprio, as agreed upon by
20    counsel.    Accordingly, the time to file a claim and answer for the
21    known potential claimants expired October 11, 2017, and November 3,
22    2017, respectively.
23          At the time of the filing of the FAC, the Picasso and Basquiat
24    were located in Switzerland.       On June 16, 2017, a warrant for arrest
25    in rem was issued for the Defendant Assets.          Copies of the FAC,
26    notice, and the arrest warrant in rem were received and served by the
27    Central Authority of Switzerland, pursuant to the Treaty Between the
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 1    United States of America and the Swiss Confederation on Mutual
 2    Assistance in Criminal Matters (“MLAT”).
 3          Through counsel and in an affidavit, Mr. DiCaprio represented
 4    that he was surrendering the Defendant Assets to the government and
 5    that he would not pursue any legal claims or defenses that he might
 6    have to the Defendant Assets or this case.         The Defendant Assets are
 7    in the custody and control of the United States Marshals Service.
 8    (Dkt. No. 21).
 9          On January 5, 2018, a Default by Clerk was issued (Dkt. No. 23).
10          On September 24, 2018, this Court issued an Order in the related
11    case United States v. Certain Rights to and Interests in Shares of
12    Series D Preferred Stock in Palantir Technologies, CV 17-4446-DSF
13    (PLAx) (“Palantir Action”), granting a motion by the claimant in that
14    case (the “Palantir Claimant”) to certify for interlocutory appeal
15    the Court’s denial of the Palantir Claimant’s motion to dismiss.
16    Specifically, the Court certified for interlocutory appeal two issues
17    relating to (i) whether the government’s civil action seeking to
18    forfeit the asset in the Palantir Action was properly venued, and
19    (ii) whether the government must make a showing of personal
20    jurisdiction over a claimant in a civil forfeiture action.
21          In accordance with the Court’s Order in the Palantir Action, the
22    government provided notice of the Court’s Order in this case issued
23    on September 24, 2018 (Dkt. No. 27).        On October 4, 2018, the
24    Palantir Claimant filed a Petition for Permission to Appeal
25    Interlocutory Order of the United States District Court for the
26    Central District of California Pursuant to 28 U.S.C. § 1292(b) with
27    the United States Court of Appeals for the Ninth Circuit.            That
28    petition remains pending with the Ninth Circuit with the Palantir



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 1    Claimant’s reply was filed April 19, 2019, and the case is being
 2    considered for the upcoming oral argument calendar in Pasadena for
 3    dates in August 2019 and the two subsequent months.
 4          Once the Ninth Circuit adjudicates the Palantir Claimant’s
 5    Petition, the government will again consider whether a Motion for
 6    Default Judgment is appropriate.
 7          The government will file the next status report in 180 days or
 8    until a motion for default judgment is filed.
 9     Dated: May 1, 2019                   Respectfully submitted,
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